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                               INSURER ADOPTION AGREEMENT

The undersigned Insurer has read and understands the Mutual Made Whole Release attached hereto
as Exhibit A,1 and agrees to be bound by the terms thereof as to each Claimant that is the
undersigned Insurer’s (or its predecessor’s) insured that signs the Mutual Made Whole Release
upon, and only upon, the execution of such Mutual Made Whole Release and submission to the
Fire Victim Trust by such Claimant following the Effective Date of the Debtors’ Plan and the
funding of the Subrogation Wildfire Trust with $11 billion. For the avoidance of doubt, “Insurer”
as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.




Insurer

Insurer Name: Certain at Lloyds, London (Atrium)



By:

Name:            Steven Soltman

Title:           Its Attorney and Authorized Representative




1
 Capitalized terms used but not defined herein shall have the meanings given to them in the Mutual Made Whole
Release.



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                               INSURER ADOPTION AGREEMENT

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funding of the Subrogation Wildfire Trust with $11 billion. For the avoidance of doubt, “Insurer”
as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.




Insurer

Insurer Name: Certain Underwriters at Lloyds, London (Novae)



By:

Name:            Steven Soltman

Title:           Its Attorney and Authorized Representative




1
 Capitalized terms used but not defined herein shall have the meanings given to them in the Mutual Made Whole
Release.



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                                INSURER ADOPTION AGREEMENT

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funding of the Subrogation Wildfire Trust with $11 billion. For the avoidance of doubt, “Insurer”
as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.

Insurer

Carrier Group: Argo Global

Insurer Names: Certain Underwriters at Lloyd’s of London UK Subscribing to Policy No.
               B0429BA1704109
               Certain Underwriters at Lloyd’s of London UK Subscribing to Policy No
               B1230AP01428A17;
               Certain Underwriters at Lloyd’s of London UK Subscribing to Policy No.
               B126BW0024518ADA
               Certain Underwriters at Lloyd’s of London UK Subscribing to Policy No.
               B1156OARPAR180N
               Certain Underwriters at Lloyd’s of London UK Subscribing to Policy No.
               NGW44183016
               Certain Underwriters at Lloyd’s of London UK Subscribing to Policy No.
               ABLD058028
               Certain Underwriters at Lloyd’s of London UK Subscribing to Policy No.
               B1526003441300301
               Certain Underwriters at Lloyd’s of London UK Subscribing to Policy No.
               B1230AP01428A17
               Certain Underwriters at Lloyd’s of London UK Subscribing to Policy No.
               B1262BW0024518
               Certain Underwriters at Lloyd’s of London UK Subscribing to Policy No.
               B1156BD1700735000

By:

Name:            Paul Casetta

Title:           Subrogation Attorney




1
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Release.



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                                INSURER ADOPTION AGREEMENT

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Fire Victim Trust by such Claimant following the Effective Date of the Debtors’ Plan and the
funding of the Subrogation Wildfire Trust with $11 billion. For the avoidance of doubt, “Insurer”
as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.

Insurer

Insurer Name: Certain Underwriters at Lloyd’s of London, UK and Insurers Subscribing to
               Policy No. B1230AP56189A17

By:

Name:            Paul Casetta

Title:           Subrogation Attorney




1
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Release.



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                                INSURER ADOPTION AGREEMENT

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funding of the Subrogation Wildfire Trust with $11 billion. For the avoidance of doubt, “Insurer”
as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.

Insurer

Carrier Group: Canopius

Insurer Names: Certain Underwriters at Lloyd’s of London, UK Subscribing to Policy No.
               B57635DAA
               Certain Underwriters at Lloyd’s of London, UK Subscribing to Policy No.
               B63355AAA
               Certain Underwriters at Lloyd’s of London, UK Subscribing to Policy No.
               B55721BAA

By:

Name:            Paul Casetta

Title:           Subrogation Attorney




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Release.



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funding of the Subrogation Wildfire Trust with $11 billion. For the avoidance of doubt, “Insurer”
as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.

Insurer

Carrier Group: Novae Group

Insurer Names: Certain Underwriters at Lloyd’s of London, UK Subscribing to Policy No.
               LSI100402-05
               Certain Underwriters at Lloyd’s of London, UK Subscribing to Policy No.
               LSI103618-01
               Certain Underwriters at Lloyd’s of London, UK Subscribing to Policy No.
               B0507L16360-521
               Certain Underwriters at Lloyd’s of London, UK Subscribing to Policy No.
               LSI100966-04


By:

Name:            Paul Casetta

Title:           Subrogation Attorney




1
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                                INSURER ADOPTION AGREEMENT

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as Exhibit A,1 and agrees to be bound by the terms thereof as to each Claimant that is the
XQGHUVLJQHG,QVXUHU¶V RULWVSUHGHFHVVRU¶V LQVXUHGWKDWVLJQVWKH0XWXDO0DGH:KROH5HOHDVH
upon, and only upon, the execution of such Mutual Made Whole Release and submission to the
Fire Victim Trust by such Claimant IROORZLQJ WKH (IIHFWLYH 'DWH RI WKH 'HEWRUV¶ 3ODQ DQG WKH
funding of the Subrogation Wildfire Trust with $11 billion)RUWKHDYRLGDQFHRIGRXEW³,QVXUHU´
as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.

Insurer

Carrier Group: Tokio Marine-HCC

Insurer Names: Certain Underwriters at Lloyd¶s of London, UK and Insurers Subscribing to
               Policy No. P17A1770A001
               Certain Underwriters at Lloyd¶VRI/RQGRQ8.and Insurers Subscribing to
               Policy No. P17B6450A001


By:

Name:            Paul Casetta

Title:           Subrogation Attorney




1
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Release.



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                                INSURER ADOPTION AGREEMENT

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funding of the Subrogation Wildfire Trust with $11 billion. For the avoidance of doubt, “Insurer”
as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.




Insurer

Insurer Name: Certain Underwrites at Lloyd’s of London Subscribing to Policy No.
              PLNMBLV00001318 (Argenta Holdings Limited)

By:

Name:            Paul Casetta

Title:           Subrogation Attorney




1
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Release.



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                               INSURER ADOPTION AGREEMENT

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funding of the Subrogation Wildfire Trust with $11 billion. For the avoidance of doubt, “Insurer”
as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.

Insurer

Carrier Group: Cincinnati Global Underwriting, Ltd.

Insurer Name:      Certain Underwriters at Lloyd’s of London, UK Subscribing to Policy No.
                   B123AP01428A18-16247
                   Certain Underwriters at Lloyd’s of London, UK Subscribing to Policy No.
                   H3X00642
                   Certain Underwriters at Lloyd’s of London, UK Subscribing to Policy No.
                   H3X00697
                   Certain Underwriters at Lloyd’s of London, UK Subscribing to Policy No.
                   H3X00826
                   Certain Underwriters at Lloyd’s of London, UK Subscribing to Policy No.
                   H3X00540
                   Certain Underwriters at Lloyd’s of London, UK Subscribing to Policy No.
                   H3X00910
                   Certain Underwriters at Lloyd’s of London, UK Subscribing to Policy No.
                   H3X00606
                   Certain Underwriters at Lloyd’s of London, UK Subscribing to Policy No.
                   H3X00266
                   Certain Underwriters at Lloyd’s of London, UK Subscribing to Policy No.
                   PN1600673
                   Certain Underwriters at Lloyd’s of London, UK Subscribing to Policy No.
                   ECF056681
                   Certain Underwriters at Lloyd’s of London, UK Subscribing to Policy No.
                   PG1700158
                   Certain Underwriters at Lloyd’s of London, UK Subscribing to Policy No.
                   PRPNA16006676
                   Certain Underwriters at Lloyd’s of London, UK and Insurers Subscribing to
                   Policy No. PTNAM1802877




1
 Capitalized terms used but not defined herein shall have the meanings given to them in the Mutual Made Whole
Release.



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By:

Name:       Paul Casetta

Title:      Subrogation Attorney




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                                INSURER ADOPTION AGREEMENT

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funding of the Subrogation Wildfire Trust with $11 billion. For the avoidance of doubt, “Insurer”
as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.

Insurer

Carrier Group: Ascot Group

Insurer Names: Certain Underwriters at Lloyd’s of London UK Subscribing to Policy No.
               PN1700157
               Certain Underwriters at Lloyd’s of London UK Subscribing to Policy No.
               PN1700364

By:

Name:            Paul Casetta

Title:           Subrogation Attorney




1
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Release.



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                                INSURER ADOPTION AGREEMENT

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Fire Victim Trust by such Claimant following the Effective Date of the Debtors’ Plan and the
funding of the Subrogation Wildfire Trust with $11 billion. For the avoidance of doubt, “Insurer”
as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.

Insurer

Insurer Name: Certain Underwriters at Lloyd’s of London, UK Subscribing to Policy No.
              PSLPLl06107

By:

Name:            Paul Casetta

Title:           Subrogation Attorney




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 Capitalized terms used but not defined herein shall have the meanings given to them in the Mutual Made Whole
Release.



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                               INSURER ADOPTION AGREEMENT

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funding of the Subrogation Wildfire Trust with $11 billion. For the avoidance of doubt,
“Insurer” as used in the Mutual Made Whole Release shall include (without limitation) the
California Insurance Guarantee Association.




Insurer

Insurer Name:            Markel Syndicate Management

By:

Name:                    Kelly Reeder

Title:                   Claims Manager




1
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Release.



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funding of the Subrogation Wildfire Trust with $11 billion. For the avoidance of doubt, “Insurer”
as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.




Insurer

Insurer Name:            Maxum Indemnity Company

By:                      /s/ Amara E. Bennett (electronic signature provided due to present lack of access to printer or scanner)

Name:                    Amara E. Bennett, CIIP, DAE

Title:                   Sr. Claims Specialist, Complex Commercial Property




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Release.



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as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.

Insurer

Insurer Name: Maxum Indemnity Company

By:

Name:            Paul Casetta

Title:           Subrogation Attorney




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Release.



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                                        of 40
                               INSURER ADOPTION AGREEMENT

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as used in the Mutual Made Whole Release shall include (without limitation) the California
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Insurer Name:

                  Allied P&C Insurance Company
                  AMCO Insurance Company
                  Crestbrook Insurance Company
                  Depositors Insurance Company
                  Harleysville Insurance Company
                  Nationwide Agribusiness Insurance NAIC
                  Nationwide Insurance Company of America
                  Nationwide Mutual Fire Insurance Company
                  Nationwide Mutual Insurance Company
                  Scottsdale Indemnity Company
                  Scottsdale Insurance Company
                  Western Heritage Insurance Company
                  Victoria Fire and Casualty Company




By:

Name:            Klaus Diem

Title:           Senior Vice President, Chief Risk Officer




1
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Release.



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                                INSURER ADOPTION AGREEMENT

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 funding of the Subrogation Wildfire Trust with $11 billion. For the avoidance of doubt, “Insurer”
 as used in the Mutual Made Whole Release shall include (without limitation) the California
 Insurance Guarantee Association.




 Insurer

 Insurer Name: Great Divide Insurance Co. / Nautilus Insurance Co.


 By:

 Name:                    Harpreet Singh

 Title:                   Subrogation Manager




 1
  Capitalized terms used but not defined herein shall have the meanings given to them in the Mutual Made Whole
 Release.




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                               INSURER ADOPTION AGREEMENT

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as used in the Mutual Made Whole Release shall include (without limitation) the California
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Insurer
                       MCHA Holdings, LLC
Insurer Name:

By:

Name:                    Reuben Kopel
Title:                  Authorized Signatory




1
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Release.



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                                INSURER ADOPTION AGREEMENT

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“Insurer” as used in the Mutual Made Whole Release shall include (without limitation) the
California Insurance Guarantee Association.




Insurer
                  Pacific Specialty Insurance Company
Insurer Name:

By:
                 Patricia M. Fama
Name:
                 Director/Senior Counsel
Title:




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Release.



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                                INSURER ADOPTION AGREEMENT

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as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.

Insurer

Carrier Group: Peninsula Insurance Bureau

Insurer Names: Certain Underwriters at Lloyd’s of London, UK Subscribing to Policy No.
               PIV106864
               Certain Underwriters at Lloyd’s of London, UK Subscribing to Policy No.
               PIV110301
               Certain Underwriters at Lloyd’s of London, UK Subscribing to Policy No.
               PIV106514
               Certain Underwriters at Lloyd’s of London, UK Subscribing to Policy No.
               PIV105719
               Certain Underwriters at Lloyd’s of London, UK Subscribing to Policy No.
               PIV106859
               Certain Underwriters at Lloyd’s of London, UK Subscribing to Policy No.
               PIV105114
               Certain Underwriters at Lloyd’s of London, UK Subscribing to Policy No.
               PIV105626
               Certain Underwriters at Lloyd’s of London, UK Subscribing to Policy No.
               PIV105143
               Certain Underwriters at Lloyd’s of London, UK Subscribing to Policy No.
               PIV119634
               American National Insurance Company


By:

Name:            Paul Casetta

Title:           Subrogation Attorney




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 Capitalized terms used but not defined herein shall have the meanings given to them in the Mutual Made Whole
Release.



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                               INSURER ADOPTION AGREEMENT

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funding of the Subrogation Wildfire Trust with $11 billion. For the avoidance of doubt, “Insurer”
as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.




Insurer

Insurer Name: Philadelphia Indemnity Insurance Co.

By:

Name:             Robert P. Finizio

Title:               Senior Claims Examiner




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Release.



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Case: 19-30088   Doc# 8068-3   Filed: 06/22/20   Entered: 06/22/20 15:41:19   Page 33
                                        of 40
                               INSURER ADOPTION AGREEMENT

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upon, and only upon, the execution of such Mutual Made Whole Release and submission to the
Fire Victim Trust by such Claimant following the Effective Date of the Debtors’ Plan and the
funding of the Subrogation Wildfire Trust with $11 billion. For the avoidance of doubt, “Insurer”
as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.




Insurer

Insurer Name:            Progressive Group of Insurance Companies

By:                      Julie Marinchick
Name:                    Julie Marinchick

Title:                   Sr Mgr Subrogation




1
 Capitalized terms used but not defined herein shall have the meanings given to them in the Mutual Made Whole
Release.



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                               INSURER ADOPTION AGREEMENT

The undersigned Insurer has read and understands the Mutual Made Whole Release attached hereto
as Exhibit A,1 and agrees to be bound by the terms thereof as to each Claimant that is the
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Insurer
                       MCHA Holdings, LLC
Insurer Name:

By:

Name:                    Reuben Kopel
Title:                  Authorized Signatory




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Insurer

Carrier Group: QBE European Operations

Insurer Names: Certain Underwriters at Lloyd’s of London, UK Subscribing to Policy No.
               PN1700089
               Certain Underwriters at Lloyd’s of London, UK Subscribing to Policy No.
               PN1600673
               Certain Underwriters at Lloyd’s of London, UK Subscribing to Policy No.
               N17NA10020
               Certain Underwriters at Lloyd’s of London, UK Subscribing to Policy No.
               PRPNA1701511


By:

Name:            Paul Casetta

Title:           Subrogation Attorney




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Insurer

Insurer Name: RSUI INDEMNITY COMPANY

By:              DAN DURBIN

Name:                  DAN DURBIN

Title:           CHIEF CLAIMS SPECIALIST




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Insurance Guarantee Association.

Insurer

Carrier Group: SCOR

Insurer Names: General Security Indemnity Company of Arizona


By:

Name:            Paul Casetta

Title:           Subrogation Attorney




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Insurer

Insurer Name: Mesa Underwriters Specialty Insurance Company

By:

Name:            Ryan Wittrien

Title:           Claims Property Subrogation Specialist




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